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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

STEAMSHIP TRADE ASSOCIATION OF Case No. 1:22-cv-08228-JSR
BALTIMORE — INTERNATIONAL
LONGSHOREMEN’S ASSOCIATION CLASS ACTION

PENSION FUND, Individually and on Behalf of
All Others Similarly Situated,

Plaintiff,

Vv.

OLO INC., NOAH GLASS, and PETER
BENEVIDES,

Defendants.

Lo ROpSSED) CLASS DISTRIBUTION ORDER

WHEREAS Plaintiff Steamship Trade Association of Baltimore — International
Longshoremen’s Association Pension Fund (“STA-ILA” or “Class Representative”), by and
through Lead Counsel, have moved this Court for entry of this Class Distribution Order, and the
Court, having considered all materials and arguments submitted in support of the Motion,
including the Declaration of Robert Cormio in Support of Motion for Class Distribution Order (the
“Cormio Declaration”) and the Memorandum in Support of Motion for Class Distribution Order
submitted therewith;

NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

1. Unless otherwise defined herein, all capitalized terms shall have the same meanings
as set forth in the Stipulation and Agreement of Settlement and Release (the “Stipulation”’), filed
January 16, 2024 (ECF No. 115-1).

2. The Court has jurisdiction over the subject matter of the Action and over all parties

to the Action, including all Class Members and Claimants.
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3. Plaintiff's Motion for Entry of Class Distribution Order is GRANTED.
Accordingly:

a. The administrative recommendations of the Court-approved Claims
Administrator, Kroll Settlement Administration LLC (‘Kroll’), to accept the Claims set
forth in Exhibits B-1 and B-2 to the Cormio Declaration are approved.

b. Kroll’s administrative recommendations to reject the Claims set forth in
Exhibit B-3 to the Cormio Declaration are approved.

4. The Distribution Plan set forth in 437 of the Cormio Declaration is APPROVED
and is hereby incorporated by reference.

5. No new Claims may be accepted after January 2, 2025, and no further adjustments
to Claims received on or before January 2, 2025, that would result in an increased Recognized
Loss may be made for any reason after January 2, 2025, except as provided in J937(c)-(d) of the
Cormio Declaration.

6. At such time as Lead Counsel, in consultation with Kroll, determines that the
redistribution of funds remaining in the Net Settlement Fund is not cost effective, and if any funds
remain in the Net Settlement Fund after payment of late or late adjusted Claims pursuant to 937(c)-
(d) of the Cormio Declaration, the remaining balance shall be contributed to Legal Services NYC,
a certified tax-exempt organization under IRS Code Section 501(c)(3).

7. All persons involved in the review, verification, calculation, tabulation, or any other
aspect of the processing of the Claims submitted herein, or otherwise involved in the
administration or taxation of the Settlement Fund or the Net Settlement Fund, are hereby released
and discharged from any and all claims arising out of such involvement, and all Class Members,

whether or not they receive payment from the Net Settlement Fund, are hereby barred from making
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any further claims against the Net Settlement Fund, Class Representative, Lead Counsel, the
Claims Administrator, the Escrow Agent, or any other agent retained by Class Representative or
Lead Counsel in connection with the administration or taxation of the Settlement Fund or the Net
Settlement Fund, or any other person released pursuant to the Stipulations, beyond the amounts
allocated to Authorized Claimants.

8. Unless otherwise ordered by the Court, Kroll will dispose of the paper copies of
Claims and all supporting documentation one year from the final distribution date of the Net
Settlement Fund and will dispose of electronic copies of the same three years after the final
distribution date of the Net Settlement Fund.

9. The Court authorizes Lead Counsel to instruct the Escrow Agent to pay the
remaining 50% of the awarded attorneys’ fees to Lead Counsel.

10. The Court retains jurisdiction to consider any further applications concerning the
administration of the Settlements, and such other further relief as the Court deems appropriate.

IT IS SO ORDERED.

DATED: 3 | [¥ / , 2025
New York, New York

QW Regs

HON. JED S.RAKOFF ~
UNITED STATES DISTRICT JUDGE

